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AO 442 (Rev. 11111) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                    for the

                                                            District of Columbia

                   United States of America
                                 v.                                   )
                                                                      )           " . I 2~      ,!it
                   Francis Joseph Vitollo                                     '\sSl9ne.d' To~ t. QIS:.rBtc
                                                                      )               n. Oat'    101202~
                                                                              o      lip n C ~'PLAINT        11THARRE T IAARA
                                                                      )
                                                                      )
                                                                      )
                             Defendant


                                                        ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED                   to arrest and bring before a United States magistrate judge without unnecessary delay
(name Ofperson to be arrested)                                   Francis Joseph Vitollo
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        0 Superseding Indictment    0 Information       0 Superseding Information                                            N Complaint
o Probation Violation Petition    0 Supervised Release Violation Petition   o Violation Notice                                           0 Order of the Court

This offense is briefly described as follows:

  18 U.S.C. § 1752(a)(I) - Entering or Remaining in a Restricted Building or Grounds;
  18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 40 U.S.c. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building or Grounds;
  40 U.S.C. § 5104(e)(2)(G) - Parading, Picketing, and Demonstrating in a Capitol Building.

                                                                                                                           2024.05.10
Date: __        O=5~/1~O~/2=O~24~_                                                                                         16:17:35 -04'00'
                                                                                                              Issumg OffIcer s sIgnature


City and state:                      Washin   on D.C.                             Robin M. Meriweather,                         U.S. Magistrate Judge
                                                                                                                Printed name and title


                                                                    Return




Date:                                                                             ~
                                                                                                             Arr~
                                                                                                                     -
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                                                    2024.05.10
                                                    16:18:02 -04'00'
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                                  STATEMENT OF FACTS
                                FRANCIS JOSEPH VITOLLO

        Your affiant,               is a Special Agent assigned to the FBI Albany Joint Terrorism
Task Force. In my duties as a special agent, I have worked on investigations involving
counterterrorism and national security matters. In addition, I have worked on temporary
deployments related to crimes committed on Native American Reservations, as well as
investigations related to violent street gangs, violent crimes, and drug trafficking. In these
assignments, I have worked and continue to work with federal, state, and local law enforcement
agents and officers on a number of criminal investigations.

        Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        U.S. Capitol Police (USCP), the FBI, and assisting law enforcement agencies are
investigating a riot and related offenses that occurred on January 6, 2021, at the United States
Capitol, located at 1 First Street, NW, Washington, D.C., 20510.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by USCP. Only
authorized people with appropriate identification were allowed access inside the U.S. Capitol.

        On the west side of the Capitol building is the West Front, which includes the inaugural
stage scaffolding, a variety of open concrete spaces, two staircases, and multiple terraces. On the
east side of the Capitol is the East Front, which includes three staircases, porticos on both the
House and Senate side, and two large skylights into the Visitor’s Center surrounded by a concrete
parkway. All of this area was barricaded and closed to members of the public on January 6, 2021.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting to certify the vote count of the Electoral College of the
2020 Presidential Election, which took place on November 3, 2020 (“Certification”). The joint
session began at approximately 1:00 p.m. in the House of Representatives. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

        The grounds around the Capitol were posted and cordoned off, and the entire area as well
as the Capitol building itself were restricted as that term is used in Title 18, United States Code,
Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,
among others, would be visiting and did visit the Capitol complex that day.

       At around 1:00 p.m., individuals broke through the police lines, toppled the outside
barricades protecting the U.S. Capitol, and pushed past USCP and supporting law enforcement


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officers there to protect the U.S. Capitol. As a result of these and other similar actions by the
crowd, the situation at the Capitol became a civil disorder as that term is used in Title 18, United
States Code, Section 231. The civil disorder obstructed the ability of the U.S. Secret Service to
perform the federally protected function of protecting Vice President Pence.

        As they advanced unlawfully onto Capitol grounds and towards the U.S. Capitol building
over the next several hours, individuals in the crowd destroyed barricades and metal fencing and
assaulted law enforcement officers with fists, poles, thrown objects, and chemical irritant sprays,
among other things. Individuals in the crowd carried weapons including tire irons, sledgehammers,
bear spray, and tasers, some of which were also used to assault members of law enforcement. A
number of individuals in the crowd wore tactical vests, helmets, and respirators.

       At approximately 2:00 p.m., some people in the crowd forced their way through, up, and
over the barricades and law enforcement. The crowd advanced to the exterior façade of the
building. At such time, the certification proceedings were still underway, and the exterior doors
and windows of the U.S. Capitol were locked or otherwise secured.

       Beginning shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S.
Capitol, including by breaking windows and by assaulting members of law enforcement.

        Once inside, certain of the unlawful entrants destroyed property, stole property, and
assaulted federal police officers.

        Between approximately 2:10 p.m., and 2:30 p.m., Vice President Pence evacuated the
Senate Chamber, and the Senate and House of Representatives went into recess. Unlawful entrants
into the U.S. Capitol building attempted to break into the House chamber by breaking the windows
on the chamber door. Law enforcement officers inside the House of Representatives drew their
weapons to protect members of the House of Representatives who were stuck inside. Both the
Senate and the House of Representatives Chamber were eventually evacuated.

       At around 2:47 p.m., subjects broke into the Senate Chamber not long after it had been
evacuated.

        At around 2:48 p.m., DC Mayor Muriel Bowser announced a citywide curfew beginning
at 6:00 p.m. Mayor Bowser’s order imposing a curfew in the District of Columbia impacted
interstate commerce. For example, grocery store Safeway closed all 12 of its stores in the District
of Columbia as of 4 p.m. that day, and Safeway’s stores were supposed to close at 11 p.m.

       At about 3:25 p.m., law enforcement officers cleared the Senate floor. Between 3:25 and
around 6:30 p.m., law enforcement was able to clear the U.S. Capitol of all of the subjects.

       Based on these events, all proceedings of the United States Congress, including the joint
session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the
dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger
posed by individuals who had entered the U.S. Capitol without any security screening, the joint
session could not resume until after every unauthorized occupant had left the U.S. Capitol, and the


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building had been confirmed secured. The proceedings resumed at approximately 8:00 pm after
the building had been secured. Vice President Pence remained in the United States Capitol
throughout the events, including during the time he was evacuated from the Senate Chamber until
the joint session concluded at approximately 3:44 a.m. on January 7, 2021.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            Identification of Francis Joseph Vitollo

        On June 27, 2022, FBI Albany began investigating a tip that Francis Joseph Vitollo
(hereinafter, “Vitollo”) was involved in the events of January 6, 2021. Subsequent investigation
identified Vitollo as a living at 42 Main Street, Coeymans, New York.

       FBI Albany searched data sets housing cell tower records for the U.S. Capitol building on
January 6, 2021, and found phone number (518)669-1531. Vitollo was determined to be the
Verizon subscriber for this number on January 6, 2021. Call detail records were returned from
Verizon from a cell phone tower associated with the Capitol building on January 6, 2021, for phone
number (518)669-1531.

        On February 14, 2024, FBI Albany interviewed an individual by phone who had submitted
an online tip related to Vitollo in 2021. The tip submitter advised that they were familiar with
Vitollo from interacting with him on work-related matters, and that they had seen Vitollo in video
footage taken by another rioter on January 6, 2021, as it was live-streamed from outside of the
U.S. Capitol building.

       On October 17, 2022, Vitollo was interviewed by FBI Albany agents at his residence.
Vitollo told the agents that on January 5, 2021, he travelled to Washington D.C. with William
Tryon, and two other individuals. They stayed in a hotel.

        Vitollo described wearing a denim jacket and winter hat on January 6, 2021, in the FBI
interview.




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        During the interview, Vitollo first denied going inside the U.S. Capitol building. Then he
was shown the picture below (Image 1) of a male in a denim jacket with a light colored collar, and
blue and red winter hat with the text “TRUMP 2020” in white, inside the U.S. Capitol building
during the January 6 riot. Vitollo looked at the picture and said, “that’s me.”




                                             Image 1

        On March 30, 2021, William Tryon (“Tryon”) was interviewed subsequent to his arrest
related to criminal activity at the U.S. Capitol on January 6, 2021. During this interview, Tryon
stated that he travelled to Washington D.C. with three individuals, one of whom he identified as
Joe Vitollo. Audio and video of this interview were recorded. 1

                              Vitollo’s Activity at the U.S. Capitol

       Over the course of the investigation, United States Capitol Police Closed Circuit Video
(CCV) footage and open-source video footage and images were reviewed showing Vitollo walking
toward the U.S. Capitol, standing and walking on restricted grounds outside of the U.S. Capitol
building, and walking, sitting down, and appearing to use his cellular phone inside of the U.S.
Capitol building.

        In his October 17, 2022, FBI interview Vitollo said that he attended the former president’s
rally in Washington D.C. with Tryon and then walked toward the Capitol with him. Vitollo and
Tryon were captured in an open-source image among a huge crowd of people walking toward the
Capitol.




1
       On August 23, 2021, Tryon plead guilty to crimes he committed at the Capitol on January
6, 2021.

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                  Image 2 – Vitollo (yellow circle) with Tryon (blue circle)

        Vitollo approached the U.S. Capitol building on the East Front, and at one point stood in
front of a line of police officers on the steps near Tryon.




            Image 3 – Vitollo (yellow circle), Tryon (blue circle), in front of a police line




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       Vitollo, still with Tryon, then moved closer to the Capitol building near the Upper House
Door on the East Front of the Capitol, amongst others near the exterior façade of the U.C. Capitol
building.




 Image 4 - Vitollo (yellow circle), Tryon (blue circle), on the stairs on the East Front of the
                          U.S. Capitol near the Upper House Door

      Vitollo approached the Capitol building and knocked on a window near the Upper House
Door while the window was still intact.




       Image 5 – Screenshot from open-source video of Vitollo knocking on window



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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

             v.                                                 1:24-mj-241-DJS-1

Francis Vitollo,
             Defendant.


               ORDER TO RELEASE DETAINED DEFENDANT

      The above-named Defendant has satisfied the conditions for release and the Defendant
shall be released from custody on Wednesday May 15, 2024.



IT IS SO ORDERED.
        DATED:  May 15, 2024
                Albany, New York
CM/ECF LIVE - U.S. District Court - NYND                          https://nynd-ecf.sso.dcn/cgi-bin/DktRpt.pl?109401788465945-L_1_0-1
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                                                                                                     SEALED,CLOSED

                                          U.S. District Court
         Northern District of New York - Main Office (Syracuse) [NextGen CM/ECF Release 1.7
                                      (Revision 1.7.1.2)] (Albany)
                CRIMINAL DOCKET FOR CASE #: 1:24-mj-00241-DJS-1 *SEALED*
                                          Internal Use Only


         Case title: USA v. SEALED                                        Date Filed: 05/15/2024

         Other court case number: 1:24-mj-169 (RMM) District of           Date Terminated: 05/15/2024
                                  Columbia (Washington D.C.)


         Assigned to: Magistrate Judge Daniel J.
         Stewart

         Defendant (1)
         Francis Joseph Vitollo                         represented by Timothy E. Austin
         TERMINATED: 05/15/2024                                        Office of the Federal Public Defender -
                                                                       Albany Office
                                                                       Northern District of New York
                                                                       54 State Street - Suite 310
                                                                       Albany, NY 12207
                                                                       518-436-1850
                                                                       Email: tim.austin@fd.org
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED
                                                                       Designation: Public Defender or
                                                                       Community Defender Appointment
                                                                       Bar Status: Active
                                                                       Fee Status: waived_2023

         Pending Counts                                                   Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                                                Disposition
         None

         Highest Offense Level (Terminated)
         None




1 of 3                                                                                                           5/20/2024, 1:36 PM
CM/ECF LIVE - U.S. District Court - NYND                              https://nynd-ecf.sso.dcn/cgi-bin/DktRpt.pl?109401788465945-L_1_0-1
                        Case 1:24-mj-00169-RMM Document 6 Filed 05/20/24 Page 20 of 21


         Complaints                                                           Disposition
         18 U.S.C. § 1752(a)(1) - Entering or
         Remaining in a Restricted Building or
         Grounds, 18 U.S.C. § 1752(a)(2) -
         Disorderly and Disruptive Conduct in a
         Restricted Building or Grounds, 40 U.S.C.
         § 5104(e)(2)(D) - Disorderly Conduct in a
         Capitol Building or Grounds, 40 U.S.C. §
         5104(e)(2)(G) - Parading, Picketing and
         Demonstrating in a Capitol Building.



         Plaintiff
         USA                                                  represented by Alexander Paul Wentworth-Ping
                                                                             Office of the United States Attorney -
                                                                             Albany Office
                                                                             445 Broadway, Room 218
                                                                             Albany, NY 12207
                                                                             518-431-0247
                                                                             Fax: 518-431-0249
                                                                             Email: Alexander.Wentworth-
                                                                             Ping@usdoj.gov
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: Assistant US Attorney
                                                                             Bar Status: Active
                                                                             Fee Status: waived_2023
         Email All Attorneys
         Email All Attorneys and Additional Recipients


         Date Filed            #      Docket Text
         05/15/2024                1 Transfer Documents Received as to Francis Joseph Vitollo from the District of
                                     Columbia (gmd) (Additional attachment(s) added on 5/16/2024: # 1 District of
                                     Columbia Statement of Facts, # 2 District of Columbia Arrest Warrant) (gmd, ).
                                     (Entered: 05/16/2024)
         05/15/2024                   Rule 5(c)(3) arrest of Francis Joseph Vitollo. (gmd) (Additional attachment(s)
                                      added on 5/16/2024: # 1 DC Warrant, # 2 DC Statement of Facts) (gmd, ).
                                      (Entered: 05/16/2024)
         05/15/2024                   Text Minute Entry for an Initial Appearance and Rule 5 Removal as to Francis
                                      Vitollo held on 5/15/2024 before Magistrate Judge Daniel J. Stewart. Before
                                      Court, Probation presents Counsel and the Court with an Oral PTSR in Chambers.
                                      Defendant is advised of his rights, charges, maximum penalties and given a copy
                                      of the Complaint, and Arrest Warrant from the District of Columbia. A Financial
                                      Affidavit is submitted and approved. The OFPD is appointed. Defendant waives
                                      an Identity Hearing and a Preliminary Hearing and reserves the right. Defendant
                                      and counsel sign Waiver of hearings in this district. Government moves for release


2 of 3                                                                                                               5/20/2024, 1:36 PM
CM/ECF LIVE - U.S. District Court - NYND                             https://nynd-ecf.sso.dcn/cgi-bin/DktRpt.pl?109401788465945-L_1_0-1
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                                     on conditions. The Court sets and reviews each condition with defendant.
                                     Government reminded of their obligations under Brady v. Maryland. Defendant is
                                     remanded to the USMS. An initial appearance has been scheduled before the
                                     District of Columbia for Thursday May 23, 2024, at 12:30 EST before Magistrate
                                     Judge Michael Garvey via Zoom. Defendant requests counsel be appointed in the
                                     District of Columbia. Case remains sealed in the District of Columbia, AUSA will
                                     provide unredacted copies of documents to defense upon unsealing. Defendant
                                     released on conditions set. Appearances: Alexander Wentworth-Ping, Esq.,
                                     AUSA; Tim Austin, Esq., (FPD) for defendant. [PO: Aimee Messier and Amy
                                     Brancatelli; Digitally Recorded]. Time: 2:32 PM - 2:56 PM.(gmd) (Entered:
                                     05/16/2024)
         05/15/2024              2 CJA 23 Financial Affidavit by Francis Joseph Vitollo (gmd) (gmd, ). (Entered:
                                   05/16/2024)
         05/15/2024              3 TEXT ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Francis
                                   Joseph Vitollo Timothy E. Austin for Francis Joseph Vitollo appointed. Because
                                   the defendant has testified under oath or has otherwise satisfied this court that he
                                   (1) is financially unable to employ counsel and (2) does not wish to waive
                                   counsel, and because the interests of justice so require; It is hereby ORDERED
                                   that: The Office of the Federal Public Defender for the Northern District of New
                                   York is assigned representation of the defendant. SO ORDERED by Magistrate
                                   Judge Daniel J. Stewart on 5/15/2024.(gmd) (Entered: 05/16/2024)
         05/15/2024              4 WAIVER of Rule 5(c)(3) Hearings in this District by Francis Joseph Vitollo(gmd)
                                   (gmd, ). (Entered: 05/16/2024)
         05/15/2024              5 ORDER SETTING CONDITIONS OF RELEASE. Signed by Magistrate Judge
                                   Daniel J. Stewart on 5/15/2024. (gmd) (gmd, ). (Entered: 05/16/2024)
         05/15/2024              6 ORDER TO RELEASE DETAINED DEFENDANT as to Francis Joseph Vitollo.
                                   Signed by Magistrate Judge Daniel J. Stewart on 5/15/2024.(gmd) (gmd, ).
                                   (Entered: 05/16/2024)
         05/15/2024                  (Court only) ***Terminated defendant Francis Joseph Vitollo, pending deadlines,
                                     and motions., ***Procedural Interval start as to Francis Joseph Vitollo, ***Set/
                                     Clear Flags as to Francis Joseph Vitollo (gmd) (Entered: 05/16/2024)
         05/16/2024                  TEXT NOTICE to the Clerk, District of Columbia of a Rule 5 Appearance as to
                                     Francis Joseph Vitollo: Your case number is: 1:24-mj-169 (RMM). On 5/15/2024,
                                     Defendant appeared in the NDNY as a result of an arrest warrant issued. The
                                     defendant waived his right to Identity and Preliminary Hearing in this district and
                                     was Released on Conditions Set. NDNY did not collect a bond or passport. Please
                                     use PACER Court Links to access the public docket and documents.(gmd)
                                     (Entered: 05/16/2024)




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